               Case: 1:21-cv-06456 Document #: 1-1 Filed: 12/02/21 Page 1 of 17 PageID #:7




                                                                                                                        C9H / ALL
                                                                                                     Transmittal Number: 24109838
Notice of Service of Process                                                                            Date Processed: 11/23/2021

Primary Contact:           Andrew Akey
                           Menard, Inc.
                           5101 Menard Dr
                           Eau Claire, WI 54703-9604

Electronic copy provided to:                   Meghan Olson
                                               Todd Lemanski
                                               Elizabeth Weber

Entity:                                       Menard, Inc.
                                              Entity ID Number 0033810
Entity Served:                                Menard, Inc.
Title of Action:                              Cherise Casara vs. TGI Friday's Inc.
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2021L010195
Jurisdiction Served:                          Illinois
Date Served on CSC:                           11/23/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Dean J. Caras
                                              312-494-1500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                         EXHIBIT
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            Case: 1:21-cv-06456 Document #: 1-1 Filed: 12/02/21 Page 2 of 17 PageID #:8

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                                                                                                 IRIS Y. MARTINEZ
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N        Summons - Alias Summons                                                 (03/15/21) CCG 0001 A
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                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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0        Name all Parties
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LL
         CHERISE CASARA


                                                 Plaintiff(s)
                                 V.
                                                                 Case No.   21 L 10195
         TGI FRIDAY'S INC. et al.


                                              Defendant(s)
         Menard, Inc., Prentice Hall Corp, 801 Adlai
         Stevenson Dr., Springfield, IL 62703

                                 Address of Defendant(s)
         Please serve as follows (check one): C' Certified Mail O Sheriff Service C.;: Alias
                                                      SUMMONS
         To each Defendant:
         You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
         You are summoned and required to file your appearance, in the office of the clerk of this court,
         within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
         judgment by default may be entered against you for the relief asked in the complaint.
                              THERE IS A FEE TO FILE YOUR APPEARANCE.
         FILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline
         for filing your appearance/answer. To file your appearance/answer YOU DO NOT NEED
         TO COME TO THE COURTHOUSE, unless you are unable to eFile your appearance/
         answer. You can download an Appearance form at http://wwwillinoiscourts.gov/Forms/
         approved/procedures/appearance.asp. After completing and saving your Appearance form, you can
         electronically file (e-File) it with the circuit clerk's office.

                       Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                            cookcountyclerkofcourt.org
                                                          Page 1 of 3
                      Case: 1:21-cv-06456 Document #: 1-1 Filed: 12/02/21 Page 3 of 17 PageID #:9


    ~   Summons - Alias Summons                                                                                 (03/15/21) CCG 0001 B

        E-FILING: E-filing is now mandatory with limited exemptions. To e-File, you must first create an account with
        an e-Filing service provider. Visit http://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a
        service provider.
~       If you need additional help or have trouble e-Filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk with
o       your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
        person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
o
~       FEE WAIVER: If you are unable to pay your court fees, you can apply for a fee waiver. For information about
~       defending yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
N       wwwillinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
N       COURT DATE: Your court date will be sent to your e-File email account or the email address you provided to
~       the clerk's office. You can also call or email the clerk's office to request your next court date. You will need to
W       provide your case number OR, if unknown, the name of the Plaintiff or Defendant. For criminal case types, you
n       will also need to provide the Defendant's birthdate.
        REMOTE APPEARANCE: You may be able to attend this court date by phone or video conference.
        This is called a"Remote Appearance". Call the Circuit Clerk at (312) 603-5030 or visit their website at www
        cookcountyclerkofcourt.org to find out how to do this.
        Contact information for each of the Clerk's Office locations is included with this summons. The Clerk's office is
        open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
        To the officer: (Sheriff Service)
        This summons must be returned by the officer or other person to whom it Nvas given for service, with endorsement
        of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
        endorsed. This summons may not be served later than thirty (30) days after its date.

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        OO Atty. No.: 16980                                           Witness date
        C, Pro Se 99500
                                                                                        11/10/2021 Aiip~              Y' VIRTINEZ
        Name: Dean J. Caras                                                                              P-


        Atty. for (if applicable):                                                     Iris Y.
        Plaintiff                                                     ❑ Service by Certified Mail:

        Address: 320 W. Illinois
                                 St., Ste. 2312                       ❑ Date of Service:
                                                                          (To be inserted by officer on copy left with employer or other person)
        City: Chicago

        State:   IL     Zip: 60654

        Telephone: (312) 494-1500
                          dean.caras@deancaras.com
        Primary Email:




                               Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                    cookcountyclerkofcourt.org
                                                                Page 2 of 3
                 Case: 1:21-cv-06456 Document #: 1-1 Filed: 12/02/21 Page 4 of 17 PageID #:10

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~                            GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

    CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
    appropriate division, district or department to request your next court date. Email your case number, or, if you do
    not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
    and birthdate for a criminal case.


                CHANCERY DIVISION                                          ALL SUBURBAN CASE TYPES
    Court date EMAIL: ChanCourtDate@cookcountycourt.com                       DISTRICT 2 - SKOKIE
    Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                       CIVIL DIVISION                            Gen. Info: (847) 470-7250
    Court date EMAIL: CivCourtDate@cookcountycourt.com                   DISTRICT 3 - ROLLING MEADOWS
    Gen. Info:     (312) 603-5116                                Court date EMAIL: D3CourtDate@cookcountycourt.com
                     COUNTY DIVISION                             Gen. Info:   (847) 818-3000
    Court date EMAIL: CntyCourtDate@cookcountycourt.com                       DISTRICT 4 - MAYWOOD
    Gen. Info:     (312) 603-5710                                Court date EMAIL: D4CourtDate@cookcountycourt.com
      DOMESTIC RELATIONS/CHILD SUPPORT                           Gen. Info:   (708) 865-6040
                  DIVISION                                                 DISTRICT 5 - BRIDGEVIEW
    Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
                       OR
                       ChildSupCourtDate@cookcountycourt.com
                                                                 Gen. Info: (708) 974-6500
    Gen. Info:     (312) 603-6300                                             DISTRICT 6 - MARKHAM
                                                                 Court date EMAIL: D6CourtDate@cookcountycourt.com
                   DOMESTIC VIOLENCE
                                                                 Gen. Info: (708) 232-4551
    Court date EMAIL: DVCourtDate@cookcountycourt.com
    Gen. Info:     (312) 325-9500

                     I.AW DIVISION
    Court date EMAIL: LawCourtDate@cookcountycourt.com
    Gen. Info: (312) 603-5426

                 PROBATE DIVISION
    Court date EMAIL: ProbCourtDate@cookcountycourt.com
    Gen. Info: (312) 603-6441




                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                           Page 3 of 3
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                                                                                 11/10/2021 11:14 AM
     Attorney No. 16980                                                          IRIS Y. MARTINEZ
     STATE OF ILLINOIS            )                                              CIRCUIT CLERK
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N                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                           COUNTY DEPARTMENT, LAW DIVISION

     CHERISE CASARA,

                    Plaintiff,

     V.


     TGI FRIDAY' S INC., a corporation;             Case No. 21 L 10195
     CENTRAL FLORIDA RESTAURANTS,
     INC. d/b/a TGI Friday's #83; YADAV
     ENTERPRISES, INC., a corporation;
     MENARD, INC., a corporation; and
     DWELL & DECOR OUTDOOR, a
     corporation;

                    Defendants.


                                  FIRST AMENDED COMPLAINT


             NOW COMES Plaintiff, CHERISE CASARA, by and through her attorney, Dean J.

     Caras, and for her First Amended Complaint against Defendant, TGI FRIDAY'S INC. ("TGI

     FRIDAY' S"), a corporation; CENTRAL FLORIDA RESTAURANTS, INC. ("CFR"), d/b/a TGI

     Friday's #83; YADAV ENTERPRISES, INC. ("YADAV"), a corporation; MENARD, INC.

     ("MENARDS"), a corporation; and DWELL & DECOR OUTDOOR ("DDO"), a corporation;

     states as follows:




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      COIJN'I' I: NEGI.IGENCE (PRElVIISES I.,IABII,I'P4') AGAINS'I' 'I'GI FIaIDAY'S

~     1.   At all times relevant herein, Plaintiff, CHERISE CASARA, is an individual residing in
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:E    2.   At all times relevant herein, Defendant, TGI FRIDAY'S, a corporation incorporated to

           do business under the laws of the State of New York, owned, operated, and managed a

           restaurant named TGI Friday's #83, located at 401 North Harlem Avenue, Village of

           Oalc Park, County of Cook, State of Illinois.

      3.   At all times relevant herein, Defendant, TGI FRIDAY' S, managed the aforementioned

           property owned by Defendant.

      4.   That on or about September 26, 2020, Plaintiff was lawfully on Defendant's premises at

           the invitation and suggestion of the Defendant as an invitee.

      5.   That on or about September 26, 2020, Plaintiff was seated in the patio area of the

           restaurant when a pole from the restaurant's patio umbrella fell off and struck Plaintiff

           in the back of her head, neck, and back.

      6.   That on the date aforesaid and at all times and places hereinafter mentioned, it then and

           there became and was the duty of the Defendant to exercise reasonable care and caution

           in the operation, management, maintenance, and control of the aforesaid premises, in

           order to avoid causing injury to persons lawfully on the aforesaid premises and in

           particular, the Plaintiff herein.

      7.   That on the date aforesaid, Defendant, notwithstanding said duty in the premises, was

           then and there guilty of the following negligent acts and/or omissions:

              a. Carelessly, negligently, and improperly allowed and/or installed patio umbrellas
                 in an unsafe and dangerous manner, in that parts of the umbrella were loose and
                 fell off of the umbrella;



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                 b. Carelessly, negligently, and/or improperly installed the patio umbrellas in an
                    unsafe and dangerous manner, although it knew or in the exercise of reasonable
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~                    in the premises, in particular the Plaintiff herein;
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N                c. Carelessly, negligently and improperly failed to inspect the aforesaid premises in
2                   order to ascertain that the same was safe and in ample time to have remedied
<                   and/or removed any dangerous and unsafe condition; and

                 d. Failed to warn, either by signs or word of mouth, about potential harm caused by
                     the patio umbrellas or other patio furniture, although it knew or in the exercise of
                     reasonable care, should have known that this could cause injury to persons
                     lawfully present in the premises, in particular the Plaintiff herein.


         8.    That as a direct and proximate result of one or more of the aforesaid negligent acts or

               omissions of the Defendant, the Plaintiff, while lawfully on the aforesaid premises of

               the Defendant and acting with due care and caution for her own safety, was struck by a

               pole that fell from the restaurant's patio umbrella, thereby causing severe and disabling

               injuries; that she became and was and may in the future remain sick, sore, lame and

               disabled; that she suffered, and may in the future suffer great pain, anguish and physical

               impairment; that she has spent, and may in the future spend, a large sum of money for

               medical, hospital and doctor care and attention; that she was unable to, and may in the

               future be unable to, attend to her usual duties and affairs for a long period of time, to

               her great detriment.

              WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

     TGI FRIDAY' S INC., in an amount in excess of the jurisdictional limits of this Court, plus the

     costs of this action and whatever other relief this Honorable Court deems just and proper.
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            COUNT IIo NEGI.IGENCE (PItE1VIISES I,IABII.IT4') AGAINST CFIa

~     9.   Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.
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      10. At all times relevant herein, Defendant, CFR, a corporation incorporated to do business
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~          under the laws of the State of California, owned, operated, and managed a restaurant

           named TGI Friday's #83, located at 401 North Harlem Avenue, Village of Oak Park,

           County of Cook, State of Illinois.

      11. At all times relevant herein, Defendant, CFR, managed the aforementioned property

           owned by Defendant.

      12. That on or about September 26, 2020, Plaintiff was lawfully on Defendant's premises at

           the invitation and suggestion of the Defendant as an invitee.

      13. That on or about September 26, 2020, Plaintiff was seated in the patio area of the

           restaurant when a pole from the restaurant's patio umbrella fell off and struck Plaintiff

           in the back of her head, neck, and back.

      14. That on the date aforesaid and at all times and places hereinafter mentioned, it then and

           there became and was the duty of the Defendant to exercise reasonable care and caution

           in the operation, management, maintenance, and control of the aforesaid premises, in

           order to avoid causing injury to persons lawfully on the aforesaid premises and in

           particular, the Plaintiff herein.

      15. That on the date aforesaid, Defendant, notwithstanding said duty in the premises, was

           then and there guilty of the following negligent acts and/or omissions:

              a. Carelessly, negligently, and improperly allowed and/or installed patio umbrellas
                 in an unsafe and dangerous manner, in that parts of the umbrella were loose and
                 fell off of the umbrella;

              b. Carelessly, negligently, and/or improperly installed the patio umbrellas in an
                 unsafe and dangerous manner, although it knew or in the exercise of reasonable


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                    care, should have known that this could cause injury to persons lawfully present
                    in the premises, in particular the Plaintiff herein;
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~               c. Carelessly, negligently and improperly failed to inspect the aforesaid premises in
~                  order to ascertain that the same was safe and in ample time to have remedied
N                  and/or removed any dangerous and unsafe condition; and

                d. Failed to warn, either by signs or word of mouth, about potential harm caused by
                    the patio umbrellas or other patio furniture, although it knew or in the exercise of
                    reasonable care, should have known that this could cause injury to persons
                    lawfully present in the premises, in particular the Plaintiff herein.


        16. That as a direct and proximate result of one or more of the aforesaid negligent acts or

             omissions of the Defendant, the Plaintiff, while lawfully on the aforesaid premises of

             the Defendant and acting with due care and caution for her own safety, was struck by a

             pole that fell from the restaurant's patio umbrella, thereby causing severe and disabling

             injuries; that she became and was and may in the future remain sick, sore, lame and

             disabled; that she suffered, and may in the future suffer great pain, anguish and physical

             impairment; that she has spent, and may in the future spend, a large sum of money for

             medical, hospital and doctor care and attention; that she was unable to, and may in the

             future be unable to, attend to her usual duties and affairs for a long period of time, to

             her great detriment.

        WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

    CENTRAL FLORIDA RESTAURANTS, INC. ("CFR"), d/b/a TGI Friday's #83, in an amount

    in excess of the jurisdictional limits of this Court, plus the costs of this action and whatever other

    relief this Honorable Court deems just and proper.
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         COUNT III: NEGLIGENCE (PREMISES LIABILITY) AGAINST YADAV

~     17. Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.
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~     18. At all times relevant herein, Defendant, YADAV, a corporation incorporated to do
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2         business under the laws of the State of California, owned, operated, and managed a

          restaurant named TGI Friday's #83, located at 401 North Harlem Avenue, Village of

          Oak Park, County of Cook, State of Illinois.

      19. At all times relevant herein, Defendant, YADAV, managed the aforementioned

          property owned by Defendant.

      20. That on or about September 26, 2020, Plaintiff was lawfully on Defendant's premises at

          the invitation and suggestion of the Defendant as an invitee.

      21. That on or about September 26, 2020, Plaintiff was seated in the patio area of the

          restaurant when a pole from the restaurant's patio umbrella fell off and struck Plaintiff

          in the back of her head, neck, and back.

      22. That on the date aforesaid and at all times and places hereinafter mentioned, it then and

          there became and was the duty of the Defendant to exercise reasonable care and caution

          in the operation, management, maintenance, and control of the aforesaid premises, in

          order to avoid causing injury to persons lawfully on the aforesaid premises and in

          particular, the Plaintiff herein.

      23. That on the date aforesaid, Defendant, notwithstanding said duty in the premises, was

          then and there guilty of the following negligent acts and/or omissions:

             a. Carelessly, negligently, and improperly allowed and/or installed patio umbrellas
                 in an unsafe and dangerous manner, in that parts of the umbrella were loose and
                fell off of the umbrella;

             b. Carelessly, negligently, and/or improperly installed the patio umbrellas in an
                unsafe and dangerous manner, although it knew or in the exercise of reasonable


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                care, should have known that this could cause injury to persons lawfully present
                in the premises, in particular the Plaintiff herein;

            c. Carelessly, negligently and improperly failed to inspect the aforesaid premises in
               order to ascertain that the same was safe and in ample time to have remedied
               and/or removed any dangerous and unsafe condition; and

            d. Failed to warn, either by signs or word of mouth, about potential harm caused by
                the patio umbrellas or other patio furniture, although it knew or in the exercise of
                reasonable care, should have known that.this could cause injury to persons
                lawfully present in the premises, in particular the Plaintiff herein.


    24. That as a direct and proximate result of one or more of the aforesaid negligent acts or

          omissions of the Defendant, the Plaintiff, while lawfully on the aforesaid premises of

          the Defendant and acting with due care and caution for her own safety, was struck by a

          pole that fell from the restaurant's patio umbrella, thereby causing severe and disabling

          injuries; that she became and was and may in the future remain sick, sore, lame and

          disabled; that she suffered, and may in the future suffer great pain, anguish and physical

          impairment; that she has spent, and may in the future spend, a large sum of money for

          medical, hospital and doctor care and attention; that she was unable to, and may in the

          future be unable to, attend to her usual duties and affairs for a long period of time, to

          her great detriment.

    WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

YADAV ENTERPRISES, INC., in an amount in excess of the jurisdictional limits of this Court,

plus the costs of this action and whatever other relief this Honorable Court deems just and

proper.




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        COUNT IV: STRICT PRODUCTS LIABILITY AGAINST MENARDS

  25. Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

  26. At all times relevant herein, Defendant, MENARDS, a corporation incorporated to do

      business in the state of Wisconsin, owned, operated, managed, and/or maintained home

      improvement retail stores that sold products in the state of Illinois.

  27. Prior to and/or including September 26, 2020, Defendant, MENARDS, put patio

      umbrellas into circulation for sale to the public at large.

  28. Prior to and/or including September 26, 2020, Defendants TGI FRIDAY'S, CFR,

      and/or YADAV, purchased a patio umbrella from MENARDS that was installed in the

      restaurant named TGI Friday's #83, located at 401 North Harlem Avenue, Village of

      Oak Park, County of Cook, State of Illinois, at or near the tables in which customers sat

      to be served, including Plaintiff herein.

  29. At the time the patio umbrella was sold by and left the control of Defendant,

      MENARDS, the patio umbrella was in a condition that was unreasonably dangerous,

      defective, and unsafe in its design and manufacture, in that:

         a. The patio umbrella was not able to be securely fastened into its base, in that parts
            were missing that would be necessary to prevent the patio umbrella and/or any of
            its component parts from falling off, causing a danger to individuals in the
            vicinity of where the patio umbrella was installed, in particular Plaintiff herein;

         b. The patio umbrella was designed in a manner that it and/or its component parts
            could not be tightly secured to prevent the patio umbrella and/or any one or more
            of its component parts from falling off, causing a danger to individuals in the
            vicinity of where the patio umbrella was installed, in particular Plaintiff herein;

          c. There were no adequate warnings as to the dangers of the patio umbrella, in
             particular the danger of the patio umbrella and/or its component parts becoming
             loose and falling; and
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                 d. The patio umbrella was otherwise unreasonably dangerous, defective, and
                    unsafe.
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~        30. One or more of these defects existed when the patio umbrella left Defendant
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N             MENARDS' control, making the patio umbrella unreasonably dangerous because it

              failed to perform in the manner reasonably to be expected in light of its intended

              function and/or because the magnitude of the dangers outweighed the utility of the patio

              umbrella.

         31. As a direct and proximate result of the condition of the patio umbrella as aforesaid, the

              patio umbrella and/or any one or more of its component parts became detached and fell

              and struck Plaintiff on September 26, 2020, causing injuries to Plaintiff.

         32. By reason of the premises and as a direct and proximate result of the aforesaid

              condition of the patio umbrella, Plaintiff, while acting with due care and caution for her

              own safety, was struck by a pole that fell from the restaurant's patio umbrella, thereby

              causing severe and disabling injuries; that she became and was and may in the future

              remain sick, sore, lame and disabled; that she suffered, and may in the future suffer

              great pain, anguish and physical impairment; that she has spent, and may in the future

              spend, a large sum of money for medical, hospital and doctor care and attention; that

              she was unable to, and may in the future be unable to, attend to her usual duties and

              affairs for a long period of time, to her great detriment.

         WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

     MENARD, INC., in an amount in excess of the jurisdictional limits of this Court, plus the costs

     of this action and whatever other relief this Honorable Court deems just and proper.




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            COUNT V: STRICT PRODUCTS LIABILITY AGAINST DDO

  33. Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

  34. Defendant, DDO, upon information and belief a corporation headquartered in Alabama,

      does business in the State of Illinois.

  35. Prior to and/or including September 26, 2020, Defendant, DDO, was engaged in the

      business of designing, manufacturing, and distributing outdoor home decor products to

      retailers for sale to the public at large, including patio umbrellas.

  36. Prior to and/or including September 26, 2020, Defendants TGI FRIDAY'S, CFR,

      and/or YADAV, purchased a patio umbrella from MENARDS, which was a product

      designed, manufactured, and/or distributed by Defendant DDO, and which was installed

      in the restaurant named TGI Friday's #83, located at 401 North Harlem Avenue,

      Village of Oak Park, County of Cook, State of Illinois, at or near the tables in which

      customers sat to be served, including Plaintiff herein.

  37. At the time the patio umbrella left the control of Defendant, DDO, the patio umbrella

      was in a condition that was unreasonably dangerous, defective, and unsafe in its design

      and manufacture, in that:

         a. The patio umbrella was not able to be securely fastened into its base, in that parts
            were missing that would be necessary to prevent the patio umbrella and/or any of
            its component parts from falling off, causing a danger to individuals in the
            vicinity of where the patio umbrella was installed, in particular Plaintiff herein;

          b. The patio umbrella was designed in a manner that it and/or its component parts
             could not be tightly secured to prevent the patio umbrella and/or any one or more
             of its component parts from falling off, causing a danger to individuals in the
             vicinity of where the patio umbrella was installed, in particular Plaintiff herein;

         c. There were no adequate warnings as to the dangers of the patio umbrella, in
            particular the danger of the patio umbrella and/or its component parts becoming
            loose and falling; and



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             d. The patio umbrella was otherwise unreasonably dangerous, defective, and
                unsafe.

    38. One or more of these defects existed when the patio umbrella left Defendant DDO's

          control, making the patio umbrella unreasonably dangerous because it failed to perform

          in the manner reasonably to be expected in light of its intended function and/or because

          the magnitude of the dangers outweighed the utility of the patio umbrella.

    39. As a direct and proximate result of the condition of the patio umbrella as aforesaid, the

          patio umbrella and/or any one or more of its component parts became detached and fell

          and struck Plaintiff on September 26, 2020, causing injuries to Plaintiff.

    40. By reason of the premises and as a direct and proximate result of the aforesaid

          condition of the patio umbrella, Plaintiff, while acting with due care and caution for her

          own safety, was struck by a pole that fell from the restaurant's patio umbrella, thereby

          causing severe and disabling injuries; that she became and was and may in the future

          remain sick, sore, lame and disabled; that she suffered, and may in the future suffer

          great pain, anguish and physical.impairment; that she has spent, and may in the future

          spend, a large sum of money for medical, hospital and doctor care and attention; that

          she was unable to, and may in the future be unable to, attend to her usual duties and

          affairs for a long period of time, to her great detriment.

    WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

DWELL & DECOR OUTDOOR, in an amount in excess of the jurisdictional limits of this

Court, plus the costs of this action and whatever other relief this Honorable Court deems just and

proper.




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           COUNT VI: NEGLIGENCE (PRODUCTS LIABILITY) AGAINST DDO

U)     41. Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.
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       42. Deferidant, DDO, had a duty to design, manufacture, sell, and/or distribute patio
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~          furniture, in particular patio umbrellas, that were safe and would not cause harm to

           foreseeable users and/or individuals lawfully present on the premises where the patio

           umbrellas were installed, including Plaintiff herein.

       43. At the time Defendant DDO manufactured the patio umbrella and said patio umbrella

           left Defendant DDO's control, Defendant DDO carelessly and negligently:

              a. Designed, manufactured, and/or distributed for ultimate sale a patio umbrella that
                 was not reasonably safe for its foreseeable use and imposed an unreasonable risk
                 of harm on the ultimate user and/or individuals lawfully present on the premises
                 where the patio umbrella was installed, in particular Plaintiff herein, in that parts
                 were missing and/or defective, leading to the foreseeable and unreasonable risk
                 that the patio umbrella and/or one or more of its component parts would become
                 detached and fall, causing injury;

              b. Designed, manufactured, and/or distributed for ultimate sale a patio umbrella that
                 was likely and liable to have one or more of its component parts become
                 detached and fall, causing injury to persons who used the product and/or were
                 lawfully present on certain premises where the patio umbrella was installed, in
                 particular'Plaintiff herein;

              c. Failed to provide adequate warnings as to the dangers of the patio umbrella, in
                 particular one or more of its component parts becoming unmoored or detached
                 from its base and falling, causing injury to persons who used the product and/or
                 were lawfully present on certain premises where the patio umbrella was installed,
                 in particular Plaintiff herein;

              d. Failed to furnish adequate devices to secure the parts of the patio umbrella, so
                 that they would not come apart while in use; and

              e. Was otherwise careless and negligent.

       44. As a direct and proximate result of one or more of the foregoing careless and negligent

           acts and/or omissioris of Defendant DDO, the patio umbrella and/or any one or more of




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                its component parts became detached and fell and struck Plaintiff on September 26,

LO              2020, causing injuries to Plaintiff.
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C)
         45. By reason of the premises and as a direct and proximate result of the aforesaid careless
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~               and negligent acts and/or omissions of Defendant DDO, Plaintiff, while acting with due

                care and caution for her own safety, was strucic by a pole that fell from the restaurant's

                patio umbrella, thereby causing severe and disabling injuries; that she became and was

                and may in the future remain sick, sore, lame and disabled; that she suffered, and may

                in the future suffer great pain, anguish and physical impairment; that she has spent, and

                may in the future spend, a large sum of money for medical, hospital and doctor care and

                attention; that she was unable to, and may in the future be unable to, attend to her usual

                duties and affairs for a long period of time, to her great detriment.

               WHEREFORE, Plaintiff, CHERISE CASARA, prays for judgment against Defendant,

     DWELL & DECOR OUTDOOR, in an amount in excess of the jurisdictional limits of this

     Court, plus the costs of this action and whatever other relief this Honorable Court deems just and

     proper.

                                                             Respectfully Submitted,

                                                             /s/ Dean J. Caras
                                                             Dean J. Caras
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